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    10                              STATES DISTRICT COURT
    11         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    12
         SECURITIES AND EXCHANGE                   CASE NO. 11-cv-08607-R-DTB
    13
         COMMISSION,
    14                                             ORDER GRANTING RECEIVER’S
                       Plaintiff,
    15                                             MOTION FOR ORDER: (1)
          v.                                       APPROVING THE LIQUIDATING
    16                                             TRUSTEE’S FINAL REPORT AND
       CHARLES P. COPELAND,                        ACCOUNTING; (2) AUTHORIZING
    17 COPELAND WEALTH
       MANAGEMENT, A FINANCIAL                     DESTRUCTION OF
    18                                             DOCUMENTS; (3) AUTHORIZING
       ADVISORY CORPORATION,
    19 AND COPELAND WEALTH                         PAYMENT OF FINAL FEES AND
       MANAGEMENT, A REAL                          HOLDBACK AMOUNTS; AND (4)
    20 ESTATE CORPORATION,                         DISCHARGING AND RELEASING
    21                 Defendants.                 LIQUIDATING TRUSTEE

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         ORDER GRANTING MOTION FOR ORDER APPROVING LIQUIDATING TRUSTEE’S   Case No. 11-cv-08607-R-DTB
         FINAL REPORT AND ACCOUNTING AND REQUESTING RELATED RELIEF
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               The Court, having considered the Motion of Richard M Kipperman
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         (“Liquidating Trustee”), the court-appointed Liquidating Trustee for
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         Copeland Wealth Management, a Financial Advisory Corporation,
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         Copeland Wealth Management, a Real Estate Corporation, and their
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         subsidiaries and affiliates, for an Order: (1) Approving the Liquidating
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         Trustee’s Final Report and Accounting; (2) Authorizing Destruction of
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         Documents and Termination of Trust; (3) Authorizing Payment of Final
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         Fees and Holdback Amounts; and (4) Discharging and Releasing
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         Liquidating Trustee, and all papers in support of the Motion, and good
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         cause appearing therefor, hereby orders as follows:
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               1.      The Motion is hereby granted;
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               2.      The Court finds that the Liquidating Trustee duly and fully
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         complied with his duties and obligations as Liquidating Trustee;
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               3.      The Court finds that no claims exist against the Liquidating
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         Trustee, whether know or unknown;
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               4.      The Court hereby approves the Liquidating Trustee’s Final
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         Report and Accounting;
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               5.      The Court authorize the Liquidating Trustee to destroy the
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         files, records, and documents in his possession relating to the Trust
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         and/or remaining Receivership Entities after sixty (60) days of entry of
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         this Order;
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               6.      The Court hereby approves payment of all of Liquidating
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         Trustee’s Counsel’s fees and costs approved and paid on an interim
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         basis;
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               7.      The Court hereby authorizes payment of final fees, including
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         any Holdback Amounts, to the Liquidating Trustee and his Counsel in the
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         amounts set forth in the Orders Approving the Final Fee Applications;
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               8.      Upon entry of this Order, the Liquidating Trust is terminated

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         ORDER GRANTING MOTION FOR ORDER APPROVING LIQUIDATING TRUSTEE’S   Case No. 11-cv-08607-R-DTB
         FINAL REPORT AND ACCOUNTING AND REQUESTING RELATED RELIEF
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   1   the Liquidating Trustee and his counsel are hereby discharged and
   2   released from all duties relating to the Trust and shall have no further
   3   liabilities or responsibilities herein; and
   4         9.    Should the Liquidating Trustee, his agents, professionals,
   5   counsel or employees be called as a witness in any future proceeding, or
   6   be required to respond to a document subpoena in connection with the
   7   Liquidating Trustee’s services in this matter, the requesting party shall
   8   pay the Liquidating Trustee’s or other subpoenaed person’s then current
   9   billing rate for their time, and the requesting party shall reimburse all fees
  10   and expenses of the Liquidating Trustee or other subpoenaed person in
  11   connection with such discovery response obligations;
  12         10.   Any unpaid accounts, accounts payable, payroll, or taxes of
  13   any kind or nature of: Charles P. Copeland; Copeland Wealth
  14   Management, a Financial Advisory Corporation; and, Copeland Wealth
  15   Management, a Real Estate Corporation are not the personal
  16   responsibility, nor liability of the Liquidating Trustee;
  17         11.   Upon completion of the “Final Closing Tasks” as defined in
  18   section IV of the Memorandum of Points and Authorities filed in support
  19   of the Motion, the Liquidating Trustee is discharged and released from all
  20   duties relating to the Liquidating Trust and shall have no further liabilities
  21   or responsibilities as Liquidating Trustee herein;
  22         12.   The Court shall reserve jurisdiction over claims, if any, made
  23   against the Liquidating Trustee in connection with Trust herein or in
  24   connection with the services rendered by the Liquidating Trustee herein.
  25         IT IS SO ORDERED.
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  27    Dated: July 5, 2018.                 _____________________________
                                             The Honorable Manuel L. Real
  28                                         Judge, United States District Court

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       ORDER GRANTING MOTION FOR ORDER APPROVING FINAL REPORT AND      Case No. 11-cv-08607-R-DTB
       ACCOUNTING, AND REQUESTING RELATED RELIEF
